Case 1:10-cr-00317-REB Document 735-4 Filed 01/17/14 USDC Colorado Page 1 of5

NOTICE OF AND RESCISSION OF
NOTICE OF CLAIMS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A~1905
Denver, Colorado 80294-3589

In reply to: "Case 1:10-—cr-00317-REB Document 179 Filed 03/29/11 USDC Colorado Page 1 of 4
27th day of March, 2011 Richard Kellogg Armstrong, Page 2 of 4 Case 1:10-cr-00317-REB
Document 148 Filed 02/22/11 USDC Colorado Page 1 of 1 dated 25th day of March, 2011
Richard Kellogg Armstrong, Page 3 of 4 Case Name: UNITED STATES OF AMERICA v. RICHARD
KELLOGG ARMSTRONG Case Number: 10-CR-00317-REB 27th day of March 2011 Richard Kellogg
Armstrong, Page 4 of 4"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature and the original "Case 1:10-cr-00317-REB Document 179 Filed 03/29/11 USDC
Colorado Page 1 of 4 27th day of March, 2011 Richard Kellogg Armstrong, Page 2 of 4 Case
1:10-cr~-00317-REB Document 148 Filed 02/22/11 USDC Colorado Page 1 of 1 dated 25th day of
March, 2011 Richard Kellogg Armstrong, Page 3 of 4 Case Name: UNITED STATES OF AMERICA

ve RICHARD KELLOGG ARMSTORNG Case Number: 10~—cr-00317-REB 27th day of March 2011 Richard
Kellogg Armstrong, Page 4 of 4" including every copy bearing my signature and date, for

cause. [I made a mistake creating, signing and presenting the NOTICE OF CLAIMS. I repent
of my sin. :

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Linyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

DENVER, COLORADO
JAN 17 2014 Ula elle 32 Gy»

Richard Kellogg Armstrong

. c/o 20413-298
JEFFREY Pb. COLWELL Federal Correctional

CLERK Institution - Lompoc
nn eee 3600 Guard Road
Lompoc, California

Footnotes: lproverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, 4proverbs 6:4, 5Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-4 Filed 01/17/14 USDC Colorado Page 2 of 5

» Case 1:10-cr-00317-REB Document 179 Filed 03/29/11 USDC Colorado Page 1 of 4

TO: UNTIED STATES DISTRICT COURT - DISTRICT OF COLORADO
ATTN: Clerk of the Court-- et. al; FEDERAL CORPORATION Title 28 U.S.C. 3002(15)
C/O U.S. Postal Service Address: Constitutional Township-- Republic US

 

 
   
    

 

 

TH STREET [80294-3589] DENVER, COLORADO ISTE
901 NINETHENTH STREET [. ] Wi Maeraq a
Ine: UNITED STATES OF AMERICA V. RICHARD KELLOGG ARMSTRONG, Incorporate case inl ideec2-B0347,REB 25
From: i rmstrong, a living, breathing, liable flesh-and-bllod man-- sul: suris: (and.not pro-se} 4
Subject: ay being returned unto this agency--
as the "...plaigaff’ does not oppose my petition seeking dismissal of the indictment with prejudic@:?. cLx
* * * Notice e- is Notice to the Principal a ti
That |, Richard Kellog ng, proceeding Sui-Juris and natho-so
making a plea of: *... lea in bar corman non-judice” un
offer to contract. That eby find the court's order to be i
orders issued on March , as they relate to ("Doc. #: 146"), and theSplaintiff” shall be estoppel by silence.

  

the case at the bar;

2. As such, these offi € proceeding in violation of theik ‘Gathef Office’, and in violation of the united aay of
America’s Constitution 17 i Honorable Bill of Rights 1791;

‘Se Notice of Clan(s): VV
1. That | have demonstra¥ed that this court and its public serents tack subject matter and persona wah

3. These officerse@é the court proceeding under the “color of | tt without actual authority, have comm amultra vires
act; a

     
   
   
   
 

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4. That | do not acce; offer to contract, and | find your prasentment to be prejudicial, and it is for WN s that

any orders issued by this c re (“illegal and void") on their fa r being unconscionable;
5. This court issed aj

ER" unto the plaintiff tarespond by a day certain (being March 14th 2011) as of¢he time of this
writing, that | have reciev

sponse from the plaintiff.

Wherefore, this court is hereby instructed to immediately enty an “...order" ordering the indictment to be NS. with
prejudice, and that | am to kyimmediately released unconditiona The officers of this court have committe&fraud upon the
court with this unlawful indi t, by and through, its representatives false, fraudulent, and erroneous claims. An
attempt to continue and that wi be requiring this court and its 0 to immediately make disclosure of their “evig@nce” and
“proof of claims". These offiggr's e to cease and desist with any fitther actions.

Claims For Relie

  
   
   

   

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SEE-- Attached cand yo of Proof of Service is (available upon written request).
e

/
Done under necessity-- Signed & Dated on thi Hh dayof March 20/7/.

Without prejudice UCC 1-103 & 1-308 All Inalienable Rights Reserved

Is/ . flesh and blood man-- Sui-Juris (and not pro-se),
Richard Kellogg Armstrotfg- Fufly Authoriz resentative [Agent] Attorney In Fact in the interest

of: RICHARD KELLOGG ARMSTRONG, debtor's estate.
Case 1:10-cr-00317-REB Document 735-4 Filed 01/17/14 USDC Colorado Page 3 of 5

. Case 1:10-cr-00317-REB Document 179 Filed 03/29/11 USDC Colorado Page 2 of 4
Case 1:10-cr-00317-REB Document146 Filed 02/22/11 USDC Colorado Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Judge Robert E. Blackburn

 
    
 

Case No. 10-cr-00317-REB-02

STATES OF AMERICA,
Plaintiff, \ a,

AARD KELLOGG ARMSTRON

 

Defendant. \

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ction and Demand For Dismiss

Constitutional Rights of 1787 and

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Agency of the United States Governm .

   
 
 
 
 
 
 
  
 

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motion by March 19, 2011, as ~

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Case 1:10-cr-00317-REB Document 735-4 Filed 01/17/14 USDC Colorado Page 4 of5

+ Case 1:10-cr-00317-REB Document 179 Filed 03/29/11 USDC Colorado Page 3 of 4

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Case Name AW /1Eas Sie cor Mh stugv, erties ewan Marge Case Number: LO-b2 0242
RT
_° AFFIDAVIT OF SERVICE oy
(Must be returned to Court) , .

    
   
 

rmstrong, does hereby declare, and certifies under the penalty of perjury-- as the Almighty God
ents the truth, the whole truth, and nothing but the truth so help me god, to the best

ief, that | deposited into the institutional mail, to be deposited into the-- U.S. Postal Service by

of March 2011, proper postage pre-paid to the address(es), shown on the other side-----

That f, Ricahrd
as my Witness, this pres:
best of my knowledge and,
prison official's on this

[X] Sent By... First c it, THE UNITED STATES SUPREME
[X] 10TH CIRCUIT CQORT,- DISTRICT OF COLROADO Honorablé:

   

Hornorable: John Roberts

  
    

[X] ARIZONA SUPR RT Hornorable: Chief Justice \
[X] NTERNATIONAL COURT Honorable: Chief Justice \

The address(es) sh the reverse side have the complete di , At the time of the wean, nar a
notary wasn't available-- jotary services a copy may be obtianeticktained THE UNITED STATES SUPREME ZQURT upon written
request. Notary shall pleted as soon as possible. (\ ‘

necessity-- Signed & Dated on this 37th day of March 2011

  
 
 
 
 
  

Done under necessity-- Signed & Dated on this 27th(Sdayof = March 20_/4/ . ( ,
a ee Rights Reserved eee

hee Phrvesie Rash and blood man-- Sui-Juris (an&npt\gro-se),
y Authorizethgp sentative [Agent] Attorney In Fact'y th interest

X
"QE RICHARD KELLOGG ARMSTRONG, deb aetat V\

 

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Subscribed and ed, or sworn to before me in
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CERTIFICATE OF SERVI¢E BY MAILING
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[hereby certify that on (date) “_\ So ‘ i
»T mailed a true and correct f the |
AND ORDER FOR INTERROGATORIES ~ LONG FORM’ by olan ited States Ken ot the MOTION
to the Defendant(s) at the address(es) listed above, eye aeng in the United States Mail, Postage pre-paid

 

 

Cletk of CourDeputy Clerk

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Case 1:10-cr-00317-REB Document 735-4 Filed 01/17/14 USDC Colorado Page 5of5

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